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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §    CRIMINAL NO. H-09-470 (5)
                                                 §
                                                 §
MARK B. WITTLIFF                                 §

                                            ORDER

       Mark Wittliff’s Motion for Modification of Release Conditions (Possession of Firearms) is

denied. All conditions remain in full force and effect.

               SIGNED on October 14, 2010, at Houston, Texas.


                                                     ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
